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                   EXHIBIT 1
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                    Ambassador Mark D. Wallace | CEO | AmbWallace@uani.com | 212.922.0063

                                            February 15, 2022

Jay Wintrob
Chief Executive Officer
Oaktree Capital Management LP
28th Floor, S Grand Avenue
Los Angeles, CA 90071
Via email: csus@oaktreecapital.com; investorrelations@oaktreecapital.com

        Re:     OCM and Iranian Shipping

Dear Mr. Wintrob:

        On behalf of United Against Nuclear Iran (“UANI”), I am writing to seek your urgent
clarification regarding Oaktree Capital Management LP (“OCM”) and its policy with respect to
the sanctioned oil and shipping sectors of Iran. Using corroborating data from leading ship-
tracking websites, UANI believes the OCM-owned crude oil tanker vessel SUEZ RAJAN (IMO:
9524475) engaged in a ship-to-ship (“STS”) transfer of Iranian crude oil on February 13, 2022
with the crude oil tanker VIRGO (IMO: 9236250) east of Singapore, at coordinates 1.94881° N,
104.72292° E. Prior to the STS, we suspect VIRGO loaded Iranian oil on January 22 at Kharg
Island, Iran. Please see the following images:




Satellite imagery of SUEZ RAJAN engaged in a STS transfer with VIRGO on February 13, 2022 (Source: Planet
Labs) [reference shot shows satellite imagery of vessel when its AIS transponder was turned on]
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            Ship Details: SUEZ RAJAN, listing OCM as the Group Owner (Source: IHS Maritime)

Spoofing of AIS

        UANI is aware of many vessels “spoofing” in the Persian Gulf and the South China Sea.
While they appear to be positioned in Omani, Emirati or Iraqi waters, in reality, they are at an
Iranian port or engaged in a STS transfer.

         It appears that some vessels are carrying two AIS transponders onboard. One AIS
transponder is turned on as the vessel sails towards the UAE, Oman or Iraq. Once the vessel
reaches these waters, it is turned off, and the second transponder is turned on. The second
transponder locks in a GPS position to appear that the vessel is anchored in the UAE, Oman, or
Iraq, while the vessel is then at liberty to proceed to Iran. We believe that SUEZ RAJAN engaged
in this activity.

        As further evidence of this, according to Marine Traffic, from February 12-13, 2022, SUEZ
RAJAN should have been anchored at 1.91° N, 104.71° E. However, satellite imagery strongly
indicates that SUEZ RAJAN was not at these coordinates.
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 Screenshot of SUEZ RAJAN’s voyage timeline showing the vessel should be anchored at 1.91° N, 104.71° E on
                             February 12-13, 2022 (Source: Marine Traffic)




Satellite imagery from February 13, 2022 showing zone where SUEZ RAJAN should be anchored according to AIS transponder
                                               record (Source: Planet Labs)

       Prior to engaging in the STS with SUEZ RAJAN, we believe VIRGO loaded crude oil
from Iran’s Kharg Island on January 22, 2022:
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Satellite imagery suspected of showing VIRGO loading crude oil at Kharg Island, Iran on January 17, 2022 (Source:
Sentinel Hub) [reference shot shows satellite imagery of vessel when its AIS transponder was turned on]

The United States and Foreign Vessels Engaging with Iran

        The United States is increasingly vigilant in monitoring and warning bad actors in the
international maritime community. It is also increasingly willing to take enforcement action.
During the last year, the U.S. has issued several maritime warnings addressing illicit Iran-related
behavior. Most recently, on May 14, 2020, the U.S. Department of the Treasury, in conjunction
with the U.S. Department of State and the U.S. Coast Guard, published a sanction advisory notice,
“Guidance to Address Illicit Shipping and Sanctions Evasion Practices.” 1 It states:

        when Member States have information about vessels on the high seas that provides
        reasonable grounds to believe that the cargos of such vessels contain items the
        supply, sale, transfer, or export of which is prohibited by relevant UNSCRs, and
        the vessels or Flag States are uncooperative, the 1718 Committee may take a variety
        of actions. If the Flag State of the vessel neither consents to inspection on the high
        seas nor directs the vessel to proceed to an appropriate and convenient port for the
        required inspection, or if the vessel in question refuses to comply with Flag State
        direction to permit inspection on the high seas or to proceed to such a port, then the
        1718 Committee may designate the vessel for an asset freeze and other measures
        authorized in paragraph 12 of UNSCR 2321. Further, when the 1718 Committee
        makes the designation, the relevant Flag State must immediately deregister that

1
 United States Department of State, “United States Publishes a Global Maritime Advisory to Counter Sanctions
Evasion by Iran, North Korea, and Syria,” 5/14/2020.
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       vessel. Any State that does not receive the cooperation of a Flag State of a vessel
       suspected of carrying illicit cargo on the high seas must promptly submit a report
       to the 1718 Committee containing relevant details regarding the incident, the vessel,
       and the Flag State, which the 1718 Committee will publish on its website on a
       regular basis.

On March 9, 2020, U.S. Deputy Assistant Secretary for Counter Threat Finance and Sanctions
Bureau of Economic and Business Affairs David Peyman announced a Registry Information
Sharing Compact (“RIS”). As the U.S. law firm Winston & Strawn, LLP, notes: 2

       According to DAS Peyman, who announced the establishment of the RIS Compact
       in his March 9 interview, the RIS Compact is an agreement between vessel
       registries to establish information sharing amongst signatories regarding “bad”
       actors. The goal is to discourage “flag-hopping” by sanctioned parties. As of March
       9, the RIS Compact has been signed by Panama, the Marshall Islands, Liberia, St.
       Kitts and Nevis, Comoros, Honduras, and Palau – with others likely to follow.

       …. As [the U.S. Department of] State is aware, a specially designated national
       (SDN) designation of a vessel without corresponding licenses from OFAC to
       permit continued service is a death sentence for the vessel.

Moreover, in July 2020, the United Kingdom’s Office of Financial Sanctions Implementation
(“OFSI”) issued similar guidance to the global shipping community. 3 OFSI notes:

       Illicit activity could occur across multiple sectors involved in the maritime industry.
       Maritime insurance companies, charterers, unions, classification societies, petroleum
       companies and refineries, customs and port state controls, flag registries, and shipping
       industry associations are all exposed to financial sanctions risk.

The apparent involvement of a OCM-group owned vessel and an STS of Iranian oil would not
appear to be consonant with the foregoing rules and prescriptions, nor the specific U.S. sanctions
already imposed on Iran’s energy, ports and shipping sectors.

        UANI’s shipping campaigns call on international shippers, insurers, certification firms and
governments worldwide to cease their business, direct or otherwise, with the National Iranian Oil
Company (“NIOC”), National Iranian Tanker Company (“NITC”), Islamic Republic of Iran
Shipping Lines (“IRISL”), and the Government of Iran (“GOI”). As you know, the Iranian regime
and its illegal nuclear weapons program are dependent on the international shipping industry for
imports of sensitive technology and industrial goods as well as oil and petrochemical exports
needed to fund these illicit activities.
2
  Winston & Strawn, LLP, “U.S. Government to Ramp Up Sanctions Compliance Pressure on Worldwide Maritime
Industry,” 3/26/2020.
3
  HM Treasury Office of Financial Sanctions Implementation, “Maritime Guidance,” July 2020.
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        UANI calls on OCM to immediately clarify the foregoing. Thank you for your attention
to these important matters. In view of the seriousness of these matters, please let us hear from you
within seven days of receipt of this letter.


                                                                   Very truly yours,




                                                                   Ambassador Mark D. Wallace


UANI is a not-for-profit, non-partisan, advocacy group that seeks to prevent Iran from fulfilling its ambition to obtain nuclear weapons. UANI was
founded in 2008 by Ambassador Mark D. Wallace, the late Ambassador Richard Holbrooke, and Middle East expert Dennis Ross. UANI’s private
sanctions campaigns and state and federal legislative initiatives focus on ending the economic and financial support of the Iranian regime by
corporations until Iran verifiably abandons its drive for nuclear weapons, support for terrorism and gross human rights violations. Former U.S.
Senator Joseph Lieberman is UANI’s Chairman. UANI’s Advisory Board consists of distinguished leaders in government, academia and business.
See http://www.unitedagainstnucleariran.com/about/leadership.
